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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

U.S. Specialty Insurance Company               *
                                               *
                       Plaintiff               *
V.                                             *
                                               *               NO: 4:13CV00445 SWW
Garison Constructors of Arkansas LLC           *
                                               *
                       Defendant               *


                                   DEFAULT JUDGMENT

       Consistent with the order that was entered on this day, it is hereby CONSIDERED,

ORDERED, and ADJUDGED that Plaintiff U.S. Specialty Insurance Company have and

recover from Defendant Garison Constructors of Arkansas LLC $360,424.14 on its breach of

contract claim together with interest from this date until paid at the rate of 0.11% as provided by

law.

       IT IS SO ORDERED THIS 22ND           DAY OF SEPTEMBER, 2014.


                                              /s/Susan Webber Wright
                                              UNITED STATES DISTRICT JUDGE
